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|N THE UN|TED STATES DlSTR|CT COURT
FOR THE MlDDLE DlSTR|CT OF PENNSYLVAN|A

UN|TED STATES OF AMER|CA, :
Government : CR-91-23

vs. : Judge Ca|dweli

GEORGE T. ZAHOR|AN, ll|
Defendant

RECE|PT FOR PERMANENT RELEASE OF EXH|B|TS
The undersigned hereby acknowledges receipt of all exhibits introduced

at trial in the above-captioned case pursuant to Loca| Ru|e 79.4.

Dated: §Q,@q "WQYZ\ 2@4_£4/) F/é,

signaltui`€

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HAeRlsBuRG, pA

 

